       Case 2:13-cr-00300-GEB Document 86 Filed 07/09/15 Page 1 of 4


1    HEATHER E. WILLIAMS, #122664
     Federal Defender
2    MATTHEW C. BOCKMON, #161566
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, CA 95814
4    Telephone: (916) 498-5700
5    Attorneys for Defendant
     RUSSELL EUGENE GILMORE
6
7                                       UNITED STATES DISTRICT COURT
8                                      EASTERN DISTRICT OF CALIFORNIA
9    UNITED STATES OF AMERICA,                      )   Case No. 2:13-cr-300 GEB
                                                    )
10                              Plaintiff,          )   STIPULATION AND [PROPOSED] ORDER
                                                    )   TO CONTINUE TRIAL CONFIRMATION
11           v.                                     )   HEARING AND TRIAL TO OCTOBER 20,
                                                    )   2015
12   RUSSELL EUGENE GILMORE, et al.,                )
                                                    )   Date: August 7, 2015
13                              Defendants.         )   Time: 9:00 a.m.
                                                    )   Judge: Hon. Garland E. Burrell, Jr.
14
15             IT IS HEREBY STIPULATED by and between Benjamin Wagner, U.S. Attorney,
16   through Samuel Wong Assistant United States Attorney, attorney for Plaintiff, and Heather
17   Williams, Federal Defender, through Assistant Federal Defender Matthew C. Bockmon, attorney
18   for Russell E. Gilmore, Mark Reichel, attorney for John H. Mahan and Michael Bigelow,
19   attorney for Richard D. Hemsley, that the Trial Confirmation Hearing scheduled for July 10,
20   2015 and the Trial scheduled for July 28, 2015 be vacated and continued to August 7, 2015 and
21   October 20, 2015, respectively, at 9:00 a.m.
22             For the reasons stated below, all defense counsel requires additional time up until the
23   proposed October 20, 2015, trial date for trial preparation. All counsel need additional time to
24   receive and review GILMORE’s and any other recorded statement on September 7, 2012.
25             Legal counsel for GILMORE is scheduled for a medical procedure during the currently
26   scheduled trial. Second counsel for GILMORE will be out of the country during the currently
27   scheduled trial.
28

      Stipulation to Continue                           -1-              United States v. Mahan, et al., 2:13-cr-300 GEB
       Case 2:13-cr-00300-GEB Document 86 Filed 07/09/15 Page 2 of 4


1              Counsel for HEMSLEY is currently in jury trial in United States v. Palamarchuk, Case
2    No. 2:11-cr-450 TLN.
3              Counsel for MAHAN is currently set for a 4 week murder trial on August 5, 2015 in
4    Calaveras County Superior Court, In Re Isiah F, Case No 13JW 5445. The case was filed in May
5    2013. Counsel has been the attorney for the minor defendant charged with murder in violation of

6    California Penal Code 187, since May 2013. The trial has been delayed several times because of

7    delays in the DNA forensics. The trial will start that day. Law Partner Steve Plesser will be on

8    the case as well, however the People are represented by two District Attorney prosecutors and

9    the defense has always anticipated two defense attorneys.

10             The case involves over 50 witnesses for the people and numerous experts in various

11   areas, including audio experts as to sound, DNA experts on blood saliva and semen. It is not

12   possible for Mr. Plesser to handle the case by himself. Because of DNA experts, the age of the

13   minor, the time in custody, availability of the Judge assigned to the matter for all purposes, the

14   case cannot and will not be continued.

15             Counsel for MAHAN is set for trial in United States v. Sakhanisky, 2:13-cr-160 MCE, on

16   August 10, 2015, with a motion to continue, which is opposed by the government, set to be heard

17   on July 9, 2015. That trial is expected to be 3 weeks in length. The charges are arson and

18   insurance fraud against two defendants. This is a very large case about the cause and origin of

19   the fire, and the alleged fraud thereafter.

20             Based upon the foregoing, the parties agree time under the Speedy Trial Act should be

21   excluded from this order’s date through and including October 20, 2015, pursuant to 18 U.S.C.

22   §3161 (h)(7)(A)and (B)(iv)[reasonable time to prepare and continuity of counsel] and General

23   Order 479, Local Code T4 based upon continuity of counsel and defense preparation.
     ///
24
     ///
25
     ///
26
27
28

      Stipulation to Continue                         -2-               United States v. Mahan, et al., 2:13-cr-300 GEB
       Case 2:13-cr-00300-GEB Document 86 Filed 07/09/15 Page 3 of 4


1    IT IS SO STIPULATED.
2                                       HEATHER E. WILLIAMS
                                        Federal Defender
3
4    DATED: July 8, 2015                /s/ Matthew Bockmon
5                                       MATTHEW C. BOCKMON
                                        Assistant Federal Defendant
6                                       Attorney for Defendant
                                        Russell E. Gilmore
7
8    DATED: July 8, 2015                 /s/ Mark Reichel
                                        MARK REICHEL
9
                                        Attorney for Defendant
10                                      John H. Mahan

11
     DATED: July 8, 2015                /s/ Michael Bigelow
12                                      MICHAEL BIGELOW
                                        Attorney for Defendant
13
                                        Richard D. Hemsley
14
     Dated: July 8, 2015                BENJAMIN B. WAGNER
15                                      United States Attorney
16                                      /s/ Samuel Wong
17                                      SAMUEL WONG
                                        Assistant United States Attorney
18                                      Attorney for Plaintiff

19
20
21
22
23
24
25
26
27
28

      Stipulation to Continue             -3-              United States v. Mahan, et al., 2:13-cr-300 GEB
       Case 2:13-cr-00300-GEB Document 86 Filed 07/09/15 Page 4 of 4


1                                                   ORDER
2              IT IS HEREBY ORDERED, the Court, having received, read, and considered the parties’
3    stipulation, and good cause appearing therefrom, adopts the parties’ stipulation in its entirety as
4    its order. The Court specifically finds the failure to grant a continuance in this case would deny
5    counsel reasonable time necessary for effective preparation, taking into account the exercise of
6    due diligence. The Court finds the ends of justice are served by granting the requested
7    continuance and outweigh the best interests of the public and defendant in a speedy trial.
8              The Court orders the time from the date the parties stipulated, up to and including
9    October 20, 2015, shall be excluded from computation of time within which the trial of this case
10   must be commenced under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7)(A)
11   and(B)(iv) [reasonable time for counsel to prepare and continuity of defense counsel] and
12   General Order 479, (Local Code T4). It is further ordered that the July 10, 2015 Trial
13   Confirmation Hearing shall be continued to August 7, 2015 at 9:00 a.m. and the July 28, 2015
14   Trial shall be continued until October 20, 2015, at 9:00 a.m.
15             Dated: July 8, 2015
16
17
18
19
20
21
22
23
24
25
26
27
28

      Stipulation to Continue                          -4-               United States v. Mahan, et al., 2:13-cr-300 GEB
